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                                                                            FILED
                                                                United States Court of Appeals
                        UNITED STATES COURT OF APPEALS EALS
                                                       E                Tenth Circuit

                                  FOR THE TENTH CIRCUIT                          December 21, 2018
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                              _________________________________
                                                                                 Elisabeth A. Shumaker
                                                                                     Clerk of Court
   WESTERN WATERSHEDS PROJECT, et
   al.,

          Petitioners - Appellees,

   v.                                                            No. 18-8090
                                                       (D.C. No. 2:17-CV-00202-NDF)
   VICKI CHRISTIANSEN, Chief, United                              (D. Wyo.)
   States Forest Service, et al.,

          Respondents.

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   STATE OF WYOMING,

          Intervenor Respondent - Appellant.
                          _________________________________

                                           ORDER
                              _________________________________

         Appellant’s motion to dismiss this matter is granted. See 10th Cir. R. 27.4(A)(9)

  and Fed. R. App. P. Rule 42(b).

         A copy of this order shall stand as and for the mandate of the court.


                                               Entered for the Court



                                               ELISABETH A. SHUMAKER, Clerk
